







		NO. 12-09-00168-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



MARK AND LAURIE NIELSEN,§
	APPEAL FROM THE 145TH

APPELLANTS


V.§
	JUDICIAL DISTRICT COURT OF


SI AUDIO &amp; VIDEO DESIGN GROUP, INC.

AND SOUND IMAGE AUDIO &amp;§
	NACOGDOCHES COUNTY, TEXAS

VIDEO DESIGN GROUP, LTD.,

APPELLEES





MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for Appellants' failure to comply with the Texas Rules of
Appellate Procedure.  See Tex. R. App. P. 42.3.

	Appellants' docketing statement was due to have been filed at the time the appeal was
perfected, i.e., June 8, 2009.  See Tex. R. App. P. 32.1.  On June 8, 2009, this court notified
Appellants that they should file a docketing statement immediately if they had not already done so. 
However, Appellants failed to file a docketing statement.

	On July 2, 2009, this court issued a second notice advising Appellants that the docketing
statement was past due and giving them until July 13, 2009 to comply with Rule 32.1.  The notice
further provided that failure to comply with this second notice would result in the appeal being
presented for dismissal in accordance with Texas Rule of Appellate Procedure 42.3.  The deadline
for filing the docketing statement under this second notice has now passed, and Appellants have not
filed the docketing statement as required by Rule 32.1 and the court's notices.  

	Because Appellants have failed, after notice, to comply with Rule 32.1, the appeal is
dismissed.  See Tex. R. App. P. 42.3(c).

Opinion delivered July 24, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


